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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION
LISA LEE-BOLTON, et al.

        VS                                                CASE NO. 1:10cv253-MCR/GRJ

KOPPERS INC, et al.

                               REFERRAL AND ORDER

Referred to Judge Rodgers on      November 6, 2015
Motion/Pleadings: PLAINTIFFS’ NOTICE OF APPEAL AND OBJECTION TO DISTRICT
JUDGE AND INCORPORATED MEMORANDUM OF LAW
Filed byPLAINTIFFS                       on 11/5/15        Doc.# 802
RESPONSES:
DEFENDANTS                               on 11/19/15       Doc.# 816
                                         on                Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT

                                         /s/Donna Bajzik
                                         Deputy Clerk: Donna Bajzik

                                      ORDER
Upon    consideration   of   the   foregoing,   it   is   ORDERED     this   15th   day   of
December, 2015, that the relief requested by Plaintiffs in ECF No. 802 is DENIED.


                                         /s   M. Casey Rodgers
                                         M. CASEY RODGERS
                                         CHIEF UNITED STATES DISTRICT JUDGE
